 4:06-cr-03102-RGK-DLP   Doc # 55   Filed: 11/29/06   Page 1 of 1 - Page ID # 99



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3102
           v.                        )
                                     )
ANDRANETTE FOSTER and                )
LATHON WIDER,                        )                   ORDER
                                     )
                Defendants.          )




     IT IS ORDERED:

     Plaintiff’s motion to continue the December 5 suppression
hearing, filing 54, is granted and the hearing is continued to
January 10, 2007 at 1:30 p.m. for a duration of three hours
before the undersigned magistrate judge in Courtroom 2, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska.

     Defendants, their counsel, and counsel for the government
shall be present at this hearing.

     DATED November 29, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
